   EXHIBIT 3

(Filed Under Seal)
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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     - - - - - - - - - - - - - - - - - - - - x
     VIRGINIA L. GIUFFRE,

               Plaintiff,
                                    Case No.:
         -against-                  15-cv-07433-RWS

     GHISLAINE MAXWELL,

               Defendant.

     - - - - - - - - - - - - - - - - - - - - x

                      **CONFIDENTIAL**

                Continued Videotaped Deposition of
          GHISLAINE MAXWELL, the Defendant herein,
          taken pursuant to subpoena, was held at
          the law offices of Boies, Schiller &
          Flexner, LLP, 575 Lexington Avenue, New
          York, New York, commencing July 22,
          2016, 9:04 a.m., on the above date,
          before Leslie Fagin, a Court Reporter
          and Notary Public in the State of New
          York.

                         - - -
               MAGNA LEGAL SERVICES
           1200 Avenue of the Americas
            New York, New York 10026
                  (866) 624-6221
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 1          G. Maxwell - Confidential
 2         and foundation.
 3         A.   Can you repeat the question,
 4   please?
 5         Q.   Sure.
 6              You remember from time to time
 7   being at                          , correct?
 8         A.   I do.
 9         Q.   And I think you testified that you
10   don't remember whether                 was present
11   on any of those occasions, although he might
12   have been, correct?
13         A.   If             was standing right
14   here in front of me, I wouldn't know who he
15   is.
16         Q.   Does that mean you are saying that
17   you never met him or simply that you don't
18   remember him?
19         A.   I don't know if I ever met him, but
20   if I saw him in a picture, maybe I would
21   recognize it, but I don't believe I'd
22   remember him.
23         Q.   Did you ever go to the
24              with some woman who had previously
25   been with Mr. Epstein?
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 1
 2                       CERTIFICATE
 3
 4
 5             I HEREBY CERTIFY that GHISLAINE
 6   MAXWELL, was duly sworn by me and that the
 7   deposition is a true record of the testimony
 8   given by the witness.
 9
10             _______________________________
11             Leslie Fagin,
               Registered Professional Reporter
12             Dated:     July 22, 2016
13
14
15             (The foregoing certification of
16   this transcript does not apply to any
17   reproduction of the same by any means, unless
18   under the direct control and/or supervision
19   of the certifying reporter.)
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